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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



ANGEL BARTLETT,

                Plaintiff,

v.                                                               Case No. 1:18-CV-184

KALAMAZOO COMMUNITY                                              HON. GORDON J. QUIST
MENTAL HEALTH, et al.,

                Defendants.
                                    /

                                               OPINION

        Plaintiff, Angel Bartlett, proceeding pro se, has filed a complaint against Kalamazoo

Community Mental Health, Portage Behavioral Health, Allegan County, and numerous individuals.

Bartlett’s complaint, like others she has previously filed before this Court, is rambling, quite difficult

to follow, and makes little sense. Bartlett begins her complaint by citing various federal and

Michigan criminal statutes and Michigan Rules of Evidence. She then launches into a wandering

and incoherent narrative of her experiences in the mental health system and personal issues.

Examples include:

        •       Dr. Mauli Verma lied to the courts and the State of MI Janice Lovett and
                Michael Baker was using CMH as a tool to get my kids away. They then
                caused me severe mental illness due to the fact Allegan County wanted my
                kids.

        •       I have not been in a steady relationship because they do such bad orders on
                the person I am with. I can’t date without them making really bad actions on
                the partner. They drive us all crazy. I can’t do anything including eat normal
                they put severe drives on me such as EATING Disorders and make me eat
                more than usual.

        •       Angel Schneider-Hopkins also has done severe orders on me and has tried to
                cover her actions by doing orders of me getting attacked and I then write her.
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        •       The enclosed Planned Parenthood medical record shows a number of things
                that need to be noted. One is I have been accused of being a prostitute for
                many years by the State and the police. I do not have any diseases no HIV.
                It shows I am not pregnant.

        •       They keep trying to place me in the mental hospital but they cannot. I was
                almost put in but I called and got an override to get released right away. I
                was not doing anything wrong and they will not stop.

(ECF No. 1 at PageID.3–6.)

        On February 23, 2018, the magistrate judge issued an order granting Plaintiff leave to

proceed in forma pauperis. (ECF No. 4.) Pursuant to 28 U.S.C. § 1915(e)(2), the Court is required

to dismiss any action brought under federal law if the complaint is frivolous, malicious, fails to state

a claim upon which relief can be granted, or seeks monetary relief from a defendant immune from

such relief. 28 U.S.C. § 1915(e)(2); see also Benson v. O'Brian, 179 F.3d 1014, 1016 (6th Cir.

1999) (holding that "§ 1915(e)(2) applies only to in forma pauperis proceedings"). The Court must

read a pro se plaintiff’s complaint indulgently, see Haines v. Kerner, 404 U.S. 519, 520, 92 S. Ct.

594, 596 (1972), and accept her allegations as true, unless they are clearly irrational or wholly

incredible. Denton v. Hernandez, 504 U.S. 25, 33, 112 S. Ct. 1728, 1733 (1992). The Court

concludes that Plaintiff’s complaint must be dismissed as required by § 1915(e)(2) because it fails

to state a claim.

        Pursuant to Federal Rule of Civil Procedure 8(a), a complaint must provide “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Detailed factual allegations are

not required, but “a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 1964–65 (2007)

(quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99, 103 (1957)). The court must accept all of

the plaintiff’s factual allegations as true and construe the complaint in the light most favorable to

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the plaintiff. Gunasekera v. Irwin, 551 F.3d 461, 466 (6th Cir. 2009). The court must determine

whether the complaint contains “enough facts to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570, 127 S. Ct. at 1974. “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949

(2009). Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly,

550 U.S. at 556, 127 S. Ct. at 1965). “[W]here the well-pleaded facts do not permit the court to infer

more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—that the pleader is entitled to relief.” Id. at 679, 129 S. Ct. at 1950 (quoting Fed. R. Civ.

P. 8(a)(2)).

        Plaintiff fails to state a discernable claim. First, many of the statutes Plaintiff cites are

criminal statutes that do not provide a private right of action and may not be enforced by private

individuals. See Benton v. Kentucky-Jefferson Cnty. Attorney’s Office, No. 3:14CV-264-S, 2014

WL 3941571, at *2 (W.D. Ky. Aug. 12, 2014) (concluding that the plaintiff could not enforce 18

U.S.C. § 1038—a criminal statute pertaining to false information and hoaxes—as a private citizen);

Traveler v. CSX Transp., inc., No. 1:06CV56, 2007 WL 1830807, at *2 (N.D. Ind. June 22, 2007)

(holding that 18 U.S.C. §§ 1621 and 1623 are criminal statutes which do not provide a private right

of action for damages). Second, although the Court has reviewed Plaintiff’s complaint in detail, the

Court finds no factual basis for a viable legal claim. Finally, the complaint is replete with references

to “people,” “they,” and “them,” but Plaintiff fails to identify any specific person who took an action

against her that allegedly violated her rights under the Constitution or a federal statute that provides

a private right of action.



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       The Court also notes that “[a] complaint may be dismissed sua sponte for lack of subject

matter jurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure when the

allegations of a complaint are totally implausible, attenuated, unsubstantial, frivolous, devoid of

merit, or no longer open to discussion.” Clark v. United States, 74 F. App’x 561, 562 (6th Cir.

2003) (internal quotation marks omitted). For the reasons stated above, the Court also lacks subject

matter jurisdiction over Plaintiff’s complaint.

       In short, although Plaintiff is clearly upset about her involvement and/or treatment in the

state mental health system, her complaint provides no basis for relief in this Court.

       Accordingly, Plaintiff’s complaint will be dismissed.

       An Order consistent with this Opinion will be entered.



Dated: March 1, 2018                                        /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE




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